      Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KIVA KITCHEN & BATH, INC.,                        §
                                                  §
                    Plaintiff/Counter-            §
                    Defendant,                    §
                                                  §
V.                                                §
                                                  §
CAPITAL DISTRIBUTING, INC.,                       §
JOHN MICHAEL DAVIS a/k/a                          §
MICHAEL DAVIS a/k/a JOHN                          §   CIVIL ACTION NO 4 06-cv-02562
DAVIS, and JENNIFER TYRRELL,                      §
                                                  §
                    Defendants/Third Party        §
                    Plaintiffs/Counter-           §
                    Plaintiffs,                   §
                                                  §
and                                               §
                                                  §
BRINGMEBIZ, INC., and TODD                        §
MCCALLY                                           §
                                                  §
                    Defendants/Third Party        §
                    Defendants.                   §
            PLAINTIFF’S MOTION TO EXCLUDE THE TESTIMONY
         OF ROGER D. TOWNSEND, OR ALTERNATIVELY TO STRIKE
         PORTIONS OF THE DECLARATION OF ROGER D. TOWNSEND

              Plaintiff Kiva Kitchen & Bath, Inc. (“Plaintiff’ or “Kiva”) files this Motion to

Exclude the Testimony of Roger D. Townsend, or Alternatively to Strike Portions of

the Declaration of Roger D. Townsend (“Plaintiff’s Motion”).




I 66O997’ I
      Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 2 of 10




                                  I.    INTRODUCTION

             In August 2006, Plaintiff Kiva Kitchen & Bath, Inc. (“Kiva”) sued

Defendants Capital Distributing, Inc. (“Capital”) and John Michael Davis

(“Davis”) (collectively, the “Capital Defendants”) for cybersquatting and

trademark infringement.          Kiva prevailed at trial, and in April 2008 this Court

awarded it statutory damages under the Anticybersquatting Consumer Protection

Act and attorneys’ fees through February 25, 2008 under the Lanham Act for its

attorneys’ trial and pre-trial work. See Order Granting Judgment (Doc. No. 166) at

15-16, 31-32.

             Although Kiva had also requested an award of prospective post-trial

attorneys’ fees contingent upon Kiva prevailing in the event of an appeal, this

Court did not rule on the merits of that request because the fees had not yet been

incurred. Id. at 32. The Capital Defendants subsequently appealed.

             On April 2, 2009, the United States Court of Appeals for the Fifth Circuit

(the “Fifth Circuit”) issued an Order affirming the judgment of this Court in all

respects and labeling the Capital Defendants’ appellate arguments “irrelevant” and

“without merit.” See Order Affirming Judgment (Doc. No. 199) at 6, 9, 11. As the

prevailing party at trial and on appeal, Kiva then moved the Fifth Circuit for an

award of the attorneys’ fees it had incurred after February 25, 2008.           In the

alternative to an award of those fees from the Fifth Circuit, Kiva requested a


                                              2
1 660997v1
     Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 3 of 10




remand to this Court on the question of the attorneys’ fees. On June 17, 2009, the

Fifth Circuit issued an order granting Kiva’s motion to remand the attorneys’ fees

issue to this Court. See Order Remanding Attorneys’ Fees Question (Doc. No.

202) at 1.

         Soon after the Fifth Circuit’s remand on the question of attorneys’ fees, Kiva

filed its Motion for an Award of Attorneys’ Fees Incurred After February 25, 2008

(Doc. No. 203) (the “Attorneys’ Fees Motion”). Importantly, the Motion Docket

Date for the Attorneys’ Fees Motion was July 28, 2009, and Capital Defendants

did not file a response to the Attorneys’ Fees Motion by that deadline, leaving the

Attorneys’ Fees Motion unopposed.

         Capital Defendants did file a “Declaration of Roger D. Townsend” (Doc.

No. 204) (the “Townsend Declaration”), which purports to give an expert opinion

on the reasonableness of the post-judgment and appellate attorneys’ fees incurred

by Kiva in this case. However, Capital Defendants never designated Roger D.

Townsend (“Townsend”) as an expert witness, and the Townsend Declaration was

not submitted with any brief opposing Kiva’s Attorneys’ Fees Motion.

             Accordingly, to the extent that the Townsend Declaration is submitted in

support of any opposition to Kiva’s Attorneys’ Fees Motion, Kiva hereby moves

that this Court exclude Townsend andlor strike certain offending portions of his

Declaration.


                                             3
I 660997v1
     Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 4 of 10




                                    ii.    ARGUMENT & AUTHORITY

A.           Townsend’s testimony should be excluded because Capital Defendants
             never designated him as an expert.

             By order of this Court, the deadline for Capital Defendants to designate expert

witnesses was April 2, 2007.                Scheduling Order (Doc. No. 18) at 1.      Capital

Defendants originally complied with that deadline by filing their Designation of

Expert Witnesses (Doc. No. 24) on March 29, 2007.                   The only witness Capital

Defendants designated as an expert on attorneys’ fees was their counsel, Mark

Hendrix. Capital Defendants’ Designation of Expert Witnesses (Doe. No. 24) at 2.

Capital Defendants have not designated any other experts on attorneys’ fees, nor have

they asked this Court for leave to designate such an expert.

             By submitting the Townsend Declaration as an opinion by an undesignated

“expert” witness, Capital Defendants violated this Court’s Scheduling Order. Under

the Federal Rules, violations of discovery orders are punishable by “prohibiting the

disobedient party.        .   .   from introducing designated matters into evidence.” FED. R.

Civ. P. 37(b)(2)(A)(ii). Further, if a party “fails to provide information or identify a

witness as required by Rule 26(a)’ or (e), the party is not allowed to use that

information or witness on a motion, at a hearing, or at a trial.” FED. R. Civ. P.

37(c)(l). A proper remedy for failure to designate an expert is excluding or striking



1.           Rule 26(a) governs the disclosure of expert witness identity and reports. See
FED. R. Civ. P. 26(a)(2).

                                                    4
I 660997v1
     Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 5 of 10




the “expert testimony from [those] persons not designated as experts.” See Quails v.

State Farm Lloyds, 226 F.R.D. 551, 552 (N.D. Tex. 2005).

             In the Fifth Circuit, courts consider the following factors for excluding

undesignated experts: “(1) the explanation for the failure to identify the witness; (2)

the importance of the testimony; (3) potential prejudice in allowing the testimony;

and (4) the availability of a continuance to cure such prejudice.” Hamburger v. State

Farm Mut. Auto. Ins. Co., 361 F.3d 875, 883 (5th Cir. 2004). However, “a party’s

violation of the court’s scheduling order should not routinely justify a continuance.”

Id. at 884.

             These factors favor Kiva.   First, Capital Defendants have not given any

explanation whatsoever for failing to identify the witness. Second, the testimony is

important because it apparently seeks to provide a basis for significantly reducing an

attorneys’ fees award to Kiva—attomeys’ fees for a highly successful court outcome

that currently total almost $180,000, a significant sum for a company of Kiva’s size.

Third, Kiva only knew of one attorneys’ fees expert and never received the required

legal notice to prepare for this “surprise” witness. Thus, Kiva would be prejudiced if

testimony from this heretofore-unknown witness is allowed. Finally, as the Fifth

Circuit itself has noted, a continuance should not be granted merely because a party

has violated a scheduling order. Id. at 884.




                                               5
I 660997v1
     Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 6 of 10




         Because Capital Defendants never designated Townsend as an expert, their

submission of the r1ow1se1d Declaration is a flagrant violation of the Scheduling

Order and prejudiced Kiva in preparing for a defense of its attorneys’ fees.

Accordingly, Capital Defendants should not be allowed to rely on Townsend’s

testimony and it should be excluded in its entirety.

B.       Alternatively, portions of the Townsend Declaration should be stricken for
         being conclusory and/or speculative.

             An expert’s testimony that proffers conclusory or speculative opinions should

be stricken. See Elder v. Tanner, 205 F.R.D. 190, 193-94 (E.D. Tex. 2001) (refusing

to admit expert reports with “conclusory statements unsupported by any facts”);

Guillory v. Domtar Indus. Inc., 95 F.3d 1320, 1331 (5th Cir. 1996) (affirming district

court’s decision to exclude speculative expert opinion).         Expert opinions that are

conclusory or speculative do not meet the Rule 26 requirement that an expert’s report

provide “a complete statement of all opinions to be expressed and the basis and

reasons therefor.” Elder, 205 F.R.D. at 193 (quoting a previous version of FED. R.

Civ. P. 26(a)(2)(B)). An expert’s opinion that lacks “any elaboration or reasoning” is

insufficient as a matter of law. Id. at 194.

             The Townsend Declaration consists almost entirely of conclusory or

speculative statements that are unsupported by anything in the record or in the

Declaration itself.        The following statements in the Townsend Declaration are

conclusory and/or speculative:

                                                6
1 660997v1
      Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 7 of 10




              • “There was no need for [Kiva’s counsel] to ‘get up to speed.’”
                Townsend Declaration (Doc. No. 204) at 2. Townsend offers this
                opinion apparently based on his unfounded conclusion that ti ial
                counsel is automatically prepared to cite the trial record aiid address
                “the legal issues involved” in an appeal. Id.

              • “Because Kiva was the appellee, its appellate burden was much
                lighter.” Id. Townsend offers no support for this statement, only
                making a groundless claim that Capital Defendants’ work was
                comparatively more difficult.

              • “District court rulings, particularly those by Judge Hittner, al-c rarely
                reversed by the Fifth Circuit.” Id. Townsend offers no support for
                why this conclusory statement necessarily means that the issues in an
                appeal are any less complex when addressed by the appellee rather
                than the appellant.

              • “This, again, would lead one to think that the appellant’s fees of
                $49,000 might turn out to be higher than the appellee’s.” Id. at 3.
                Townsend speculates here as to why one figure “might” be higher
                than another.

              • Kiva was “not at risk from a miscalculation of the timetable.” Id.
                Townsend offers absolutely no support whatsoever for this statement,
                apparently concluding groundlessly that an appellee is never at risk
                when not complying with the Federal Rules of Appellate Procedure.

              • “Kiva could easily have retained an appellate specialist.” Id.
                Townsend speculates without support here as to Kiva’s ability to
                retain a “specialist” in appellate work.

              • “This suggests that [Kiva’s counsel] overstaffed the case, particularly
                with less experienced lawyers.” Id. Townsend is conclusory here,
                nor does he offer any support for his contention that there was a
                “vast” number of timekeepers, experienced or not, on the case.

              • “[Kiva’s counsel] is apparently charging Kiva 15 minutes for even
                one minute of time spent.” Id. Townsend has no idea how long
                Kiva’s attorneys spent during the allotted quarter of an hour. This
                statement is rank speculation.


                                                  7
I 660997v 1
      Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 8 of 10




             • “[Certain] intra-office email   does not even appear particularly
                                                .   .   .




               important.” Id. at 4. Once again, Townsend has no idea what the
               email contained or what its importance to Kiva’s case was. His
               statement is groundless.

             • “Whether a party is entitled to run up its attorney’s fees by frying to
               recover those same fees is a legal question.” Id. Townsend’s implied
               assertion that Kiva’s counsel “ran up” its fees is completely
               groundless and therefore conclusory.

             • “[A] contingent fee is. typically. much higher than an ordinary
                                        *   .               .   .




               fee that is assured,” Id. Townsend offers no support for this
               conclusory statement.

             • “[O]ne would think the appeal turned out to be simpler than Kiva had
               probably anticipated.” Id. at 4-5. Although he mentions that there
               was no oral argument in this case, Townsend offers no grounds for
               why this made the case “simpler” than Kiva thought, and indeed is
               speculating that Kiva’s counsel was not forced to prepare for oral
               argument before the Fifth Circuit canceled it.

             Each of these statements is either entirely without support; they are therefore

conclusory or speculative, or both. See Elder, 205 F.R.D. at 193-94; Guillory, 95 F.3d

at 1331. Each should therefore be stricken.

C.           If this Court admits any portion of the Townsend Declaration, Kiva should
             be given an opportunity to designate and present its own expert opinion on
             appellate attorneys’ fees.

             In the alternative, if this Court rules that the Townsend Declaration is

admissible in whole or in part, Kiva hereby respectfully requests leave of this Court to

retain and designate its own appellate attorneys’ fees expert and proffer his or her

opinion in support of Kiva’s Attorneys’ Fees Motion.




                                                        8
1 660997v1
     Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 9 of 10




                             III.   CONCLUSION & PRAYER

             For the reasons stated above, Townsend should be excluded from consideration

as an expert, or, alternatively, the conclusory and/or speculative portions of his

Declaration should be stricken.          Finally, if the Townsend Declaration is ruled

admissible, in whole or in part, Kiva respectfully requests leave of this Court to retain

its own appellate attorneys’ fees expert and proffer his or her opinion in support of

Kiva’s Attorneys’ Fees Motion.

Dated: July31, 2009

                                            Respectfully submitted,

                                            By:    Is! David L. Burgert
                                                   David L. Burgert
                                                   State Bar No. 03378300
                                                   Peter G. Trot
                                                   State Bar No. 24059997
                                                   Paul A. Dyson
                                                   State Bar No. 24059704
                                                   1000 Main Street, 36th Floor
                                                   Houston, Texas 77002-6336
                                                   Telephone: (713) 226-6000
                                                   Facsimile: (713) 226-6268
                                                   E-Mail: dburgertporterhedges.com

                                            ATTORNEYS FOR PLAINTIFF
                                            KIVA KITCHEN & BA TH, INC.




                                               9
1 660997v1
    Case 4:06-cv-02562 Document 206 Filed in TXSD on 07/31/09 Page 10 of 10




                          CERTIFICATE OF SERVICE

      This is to certify that on the 3 l’ day of July, 2009, a true and correct copy of
the above pleading was properly forwarded to the following counsel of record via the
Court’s ECF filing system.

Mark A. Hendrix
MADDENSE WELL, LLP
Four Hickory Centre
1755 Wittington Place, Suite 300
Dallas, Texas 75234
Telephone: (972) 484-7780
Facsimile: (972) 484-7743


Jami Meador
STRASBURGER & PRICE, LLP
1401 McKinney Street, Ste. 2200
Houston, Texas 770 10-4035
Telephone: (713) 951-5600
Facsimile: (713) 951-5660


                                                     /s/ David L. Burgert
                                                     David L. Burgert




                                          10
I 660997v1
